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                          KING, CAMPBELL, PORETZ & THOMAS PLLC
                            ATTORNEYS AND COUNSELORS AT LAW
   JOSEPH KING           108 N. ALFRED STREET, ALEXANDRIA, VIRGINIA 22314          RYAN CAMPBELL
   ATTORNEY AT LAW                                                                 ATTORNEY AT LAW


   DANIEL PORETZ                      TELEPHONE: 703-683-7070                      EMILY BECKMAN
   ATTORNEY AT LAW                    FACSIMILE: 703-652-6010                      ATTORNEY AT LAW




                                                     April 3, 2019


VIA ELECTRONIC FILING

The Honorable G. Michael Harvey
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

       Re: United States v. All Assets, et. al., No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Judge Harvey:

         The Lazarenko children concur in all respects with the views expressed in Mr. Stassen’s
letter of April 2, 2019. The taking of a deposition outside of the discovery period does not and
should not extend the period of fact discovery generally. Furthermore, counsel concurs that the
resumption of discovery has only distracted the parties from finalizing the settlement agreement
in this case. The government’s long delay in responding to the most recent draft settlement
agreement, as well as the many letter briefs filed regarding discovery, amply demonstrate that the
resumption of discovery has caused fact discovery to become the government’s primary focus
and has hindered the settlement process.


                                                     Sincerely yours,

                                                     Emily R. Beckman
